Case 2:20-cv-12880-JMV-JSA Document 140 Filed 10/27/22 Page 1 of 3 PageID: 4615




                           United States District Court
                          For the District of New Jersey
                       Docket No.: 2:20-cv-12880-JMV-JSA

  DANIEL D’AMBLY; AARON
  WOLKIND; STEVEN HARTLEY;
  RICHARD SCHWETZ; JOBEL
  BARBOSA; MATTHEW
  REIDINGER; JOHN HUGO; SEAN-
  MICHAEL DAVID SCOTT;
  THOMAS LOUDEN; ZACHARY
  REHL; AMANDA REHL; K.R., a                             Notice of Appeal
  minor, by and through her father
                                             Hon. John Michael Vasquez, U.S.D.J.
  ZACHARY REHL and her mother
  AMANDA REHL, MARK                          Hon. Jessica S. Allen, U.S.M.J.
  ANTHONY TUCCI,

        Plaintiffs/Appellants,

        v.

  CHRISTIAN EXOO a/k/a ANTIFASH
  GORDON; ST. LAWRENCE
  UNIVERSITY; TRIBUNE
  PUBLISHING COMPANY, LLC;
  NEW YORK DAILY NEWS; VIJAYA
  GADDE; TWITTER, INC; NICK
  STRICKLAND; TORCH ANTIFA
  NETWORK; UNNAMED
  ASSOCIATES 1 – 100,

        Defendants/Appellees.

       Notice is hereby given that all Plaintiffs in this action appeal to the United

 States Court of Appeals for the Third Circuit from the Order on the United States

 District Court, District of New Jersey, entered in this action on September 30,
Case 2:20-cv-12880-JMV-JSA Document 140 Filed 10/27/22 Page 2 of 3 PageID: 4616




 2022, (ECF No. 138) dismissing counts two, four, five and seven of the Second

 Amended Complaint with prejudice as to defendants Christian Exoo a/k/a

 “AntifashGordon,” St. Lawrence University, Vijaya Gadde, Twitter, Inc., Nick

 Strickland, Torch Antifa Network, and Unnamed Associates 1 – 100.



                                      Respectfully Submitted,



 Dated: October 27, 2022               s/Patrick Trainor
                                      LAW OFFICE OF PATRICK TRAINOR, ESQ., LLC
                                      Attorney for Plaintiffs
                                      19 Union Avenue, Suite 201
                                      Rutherford, New Jersey 07070
                                      P: (201) 777-3327
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Case 2:20-cv-12880-JMV-JSA Document 140 Filed 10/27/22 Page 3 of 3 PageID: 4617




                          UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  DANIEL D’AMBLY, et al.,

          Plaintiffs/Appellants,                     CIVIL ACTION NO.: 2:20-cv-12880-JMV-JSA

          v.                                               CERTIFICATION OF SERVICE

  CHRISTIAN EXOO a/k/a ANTIFASH
  GORDON, et al.,

                 Defendants.

 I, Patrick Trainor, declare under penalty of perjury as follows:

        1.      I am an attorney admitted to practice law in this Court and a member of the Law

 Office of Patrick Trainor, Esq., LLC, attorneys for the Plaintiffs in this matter.

        2.      On this date, I caused Plaintiffs’ Notice of Appeal to the United States Court of

 Appeals for the Third Circuit to be electronically filed and served upon all counsel of record via

 the Court’s ECF filing system.

        3.      I declare under penalty of perjury that the foregoing statements are true and

 correct to the best of my knowledge and belief.




 Dated: October 27, 2022                        s/Patrick Trainor
                                                Patrick Trainor, Esq.
                                                19 Union Avenue, Suite 201
                                                Rutherford, New Jersey 07070
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                                                Attorney for Plaintiffs
